 Case 2:25-cv-02592         Document 1     Filed 03/25/25   Page 1 of 13 Page ID #:1



 1   Erica J. Van Loon (State Bar No. 227712)
     evanloon@nixonpeabody.com
 2   Joshua J. Pollack (State Bar No. 215922)
     jpollack@nixonpeabody.com
 3   NIXON PEABODY LLP
     300 S. Grand Avenue, Suite 4100
 4   Los Angeles, California 90071-3151
     Telephone: (213) 629-6000
 5   Facsimile: (213) 629-6001
 6   Attorneys for Plaintiffs
     OLMO ZUCCA and JACKSON LOMASTRO
 7
 8
                               UNITED STATES DISTRICT COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
10
11
     OLMO ZUCCA and JACKSON                            Case No. 25-2592
12   LOMASTRO,
                                                       COMPLAINT FOR:
13                                 Plaintiffs,
                                                       1. DECLARATORY JUDGMENT
14              vs.
                                                       2. ACCOUNTING
15   SAMUEL AWUKU, professionally
     known as SAMMY SOSO, an                           3. CONSTRUCTIVE TRUST
16   individual; TYLA SEETHAL, an
     individual; SONY MUSIC                            4. UNJUST ENRICHMENT /
17   ENTERTAINMENT, a Delaware                            QUASI CONTRACT
     general partnership; and DOES 1
18   through 10, inclusive,                            [DEMAND FOR JURY TRIAL]
19                                 Defendants.
20
21
22
                Plaintiffs Olmo Zucca and Jackson LoMastro (collectively, “Plaintiffs”),
23
     through undersigned counsel, for their Complaint against Defendants Samuel
24
     Awuku, p/k/a Sammy Soso, Tyla Seethal, Sony Music Entertainment (“SME”), and
25
     Does 1 through 10, inclusive (collectively, “Defendants”), state and allege as
26
     follows:
27
28
     4918-8593-9481.2
                                                                                  COMPLAINT
                                                 -1-
 Case 2:25-cv-02592           Document 1     Filed 03/25/25   Page 2 of 13 Page ID #:2



 1                                          INTRODUCTION
 2              1.      Defendant Tyla Seethal (“Tyla” or “Seethal”) is a South African
 3   singer who gained international recognition after the release of her 2023 single
 4   Water (the “Song”).
 5              2.      Since its release by Epic Records (an SME label) on July 28, 2023, the
 6   Song has won numerous accolades including the inaugural Grammy Award for
 7   Best African Music Performance, Billboard Music Award for Top Afrobeats Song,
 8   and MTV Video Music Award for Best Afrobeats Video.
 9              3.      To date, the Song has over one billion downloads on Spotify and over
10   350 million views on YouTube (just from the official music video and official
11   audio), and a significant number of remixes are being made and registered on the
12   Song.
13              4.      Plaintiffs Olmo Zucca (“Zucca”) and Jackson LoMastro (“LoMastro”)
14   are two of the co-composers and co-authors of the Composition of the Song.
15              5.      Plaintiffs Zucca and LoMastro also are two of the top-line producers of
16   the Song, along with Rayan El-Hussein Goufar (p/k/a Rayo) (“Goufar”) and
17   Defendant Samuel Awuku, p/k/a Sammy Soso (“Awuku” or “Soso”).
18              6.      This lawsuit arises from Awuku’s improper and unlawful efforts to
19   take sole credit for production of the Song and to deprive Plaintiffs of top-line
20   producer credit and royalties to which they are entitled from the Song.
21              7.      Defendants have acknowledged that Plaintiffs are co-composers and
22   co-authors of the Composition of the Song, but steadfastly refuse to (i) recognize
23   and compensate Plaintiffs as top-line producers of the Song, and (ii) pay Plaintiffs
24   all of the royalties to which Plaintiffs are entitled from the Song.
25              8.      Defendants’ refusal to credit Plaintiffs as top-line producers of the
26   Song has resulted in harm to Plaintiffs’ reputation and careers, and has cost
27   Plaintiffs opportunities that otherwise would have been available to them had they
28   been credited as top-line producers of the Song.
     4918-8593-9481.2
                                                                                       COMPLAINT
                                                    -2-
 Case 2:25-cv-02592           Document 1    Filed 03/25/25   Page 3 of 13 Page ID #:3



 1                                              PARTIES
 2              9.      Plaintiff Olmo Zucca is a songwriter, composer, producer, and
 3   guitarist, and at all times relevant hereto is and was an individual residing in the
 4   County of Los Angeles, California.
 5              10.     Plaintiff Jackson LoMastro is a songwriter, composer, and producer,
 6   and at all times relevant hereto is and was an individual residing in the County of
 7   Los Angeles, California.
 8              11.     Defendant Samuel Awuku is a record and vocal producer, songwriter,
 9   engineer, and DJ. Plaintiffs are informed and believe and based thereon allege that
10   at all times relevant hereto Awuku is and was an individual residing in the United
11   Kingdom.
12              12.     Defendant Tyla Seethal is a singer. Plaintiffs are informed and believe
13   and based thereon allege that at all times relevant hereto Seethal is and was an
14   individual residing in Johannesburg, South Africa.
15              13.     Plaintiffs are informed and believe and based thereon allege that
16   Defendant Sony Music Entertainment is a Delaware general partnership, the
17   partners of which are citizens of New York and Delaware. Plaintiffs are further
18   informed and believe and based thereon allege that SME’s headquarters and
19   principal place of business are located at 25 Madison Avenue, New York, New
20   York 10010.
21              14.     The true names and capacities of the Defendants sued herein as Does 1
22   through 10, inclusive, are currently unknown to Plaintiffs, who therefore sue such
23   Defendants by fictitious names. Plaintiffs will amend this Complaint to allege the
24   true identities of such Doe Defendants when their identities are discovered. Plaintiffs
25   are informed and believe, and thereon allege, that each such fictitiously named Doe
26   Defendant is responsible in some manner for the events alleged in this Complaint
27   and that Plaintiffs’ damages as alleged herein were proximately caused by the
28   conduct of such Doe Defendants, and each of them, and that Defendants in
     4918-8593-9481.2
                                                                                     COMPLAINT
                                                   -3-
 Case 2:25-cv-02592           Document 1      Filed 03/25/25    Page 4 of 13 Page ID #:4



 1   committing the acts and omissions alleged herein acted as agents and servants of one
 2   another, acted within the scope of their authority as agents and servants of each
 3   other, and/or approved and ratified the acts and/or omissions of each other.
 4                                   JURISDICTION AND VENUE
 5              15.     Plaintiffs’ first claim for relief arises under the copyright laws of the
 6   United States, as amended (17 U.S.C. § 101, et seq.). The Court has subject matter
 7   jurisdiction over this claim pursuant to 28 U.S.C. §§ 1331 and 1338.
 8              16.     This Court has supplemental jurisdiction over Plaintiffs’ remaining claims
 9   pursuant to 28 U.S.C. § 1367 because they are so closely related to the claims over
10   which the Court has original jurisdiction that they form part of the same case and
11   controversy and derive from a common nucleus of operative facts.
12              17.     Additionally, diversity jurisdiction exists pursuant to 28 U.S.C. § 1332, as
13   Plaintiffs are each a citizen of California, SME is a citizen of New York and Delaware,
14   Awuku and Seethal are each a citizen of a foreign state, and the amount in controversy
15   exceeds $75,000, exclusive of interest and costs.
16              18.     Each of the Defendants is subject to personal jurisdiction in California
17   because a substantial part of the events giving rise to the claims asserted herein
18   occurred within this judicial district; Defendants targeted the conduct complained
19   of herein to California; and Defendants have caused injury to Plaintiffs within this
20   judicial district.
21              19.     Plaintiffs are informed and believe and based thereon allege that each
22   of the Defendants also is subject to personal jurisdiction in California because they
23   regularly transact, do, and solicit business in this judicial district. By way of
24   example only, Awuku was in Los Angeles for the Grammy Awards in early 2024.
25   While in Los Angeles, Awuku attended a nomination celebration party for the Song
26   (to which he failed to invite Plaintiffs and Goufar). Plaintiffs are informed and
27   believe and based thereon allege that, from February 2024 through April 2024,
28
     4918-8593-9481.2
                                                                                          COMPLAINT
                                                     -4-
 Case 2:25-cv-02592           Document 1    Filed 03/25/25   Page 5 of 13 Page ID #:5



 1   Awuku stayed in an Airbnb in West Hollywood, California, and ran recording
 2   sessions there.
 3              20.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)
 4   because a substantial part of the events or omissions giving rise to Plaintiffs’ claims
 5   occurred in this district; Defendants have committed acts directed at this judicial
 6   district, where both Plaintiffs reside; and Defendants are subject to the Court’s
 7   personal jurisdiction with respect to this action.
 8                         ALLEGATIONS COMMON TO ALL CLAIMS
 9              21.     A March 8-9, 2023, recording session for the Song took place in Santa
10   Monica, California. Four producers were present, including Zucca, LoMastro,
11   Goufar, and Awuku.
12              22.     During the recording session, Zucca and LoMastro produced numerous
13   audio files that are used in the final master recording of the Song, including piano,
14   Rhodes, bass guitar, electric guitar, sine pad, voice trumpet, and sound-designed
15   vocal. At the completion of the recording session, Zucca and LoMastro transferred
16   the audio files to Awuku’s computer.
17              23.     Because all four producers contributed equally to the production of the
18   Song, each should be receiving full top-line producer credit and an equal percentage
19   of royalties.
20              24.     Zucca and LoMastro were not “session musicians,” and their
21   contribution to the Song was not done on a work-for-hire basis.
22              25.     Zucca and LoMastro never received or signed any paperwork
23   indicating that they were session musicians for the Song, and they never were paid
24   on a work-for-hire basis for the Song. Rather, Zucca and LoMastro were full
25   producers. Indeed, Goufar has commented publicly that “the song was produced
26   from scratch by me @olmosound @jacklomastro and him [Awuku]. real producers
27   no instrumentalists. everyone was jamming.”
28
     4918-8593-9481.2
                                                                                     COMPLAINT
                                                   -5-
 Case 2:25-cv-02592           Document 1     Filed 03/25/25   Page 6 of 13 Page ID #:6



 1              26.     In violation of Plaintiffs’ rights, Awuku has taken sole credit for the
 2   entire production of the Song, negotiated and entered into a producer agreement
 3   directly with Seethal, failed to tell Plaintiffs (or Goufar) about it, and failed to cut
 4   Plaintiffs in on equal terms. Instead of each producer getting ¼ of 50% (i.e., 12.5%)
 5   of the music publishing royalties (which would be customary), Awuku took 15%
 6   for himself, allocated 10% to each of Zucca, LoMastro, and Goufar, and gave 5% to
 7   Christopher Alan “Tricky” Stewart.
 8              27.     Although Plaintiffs tried for months to resolve the matter with Awuku,
 9   Awuku adamantly refused to negotiate.
10              28.     Plaintiffs made repeated efforts beginning in early July 2023 – before
11   the Song was released – to obtain the credit and royalties to which they are entitled.
12              29.     On June 6, 2023, Awuku informed Goufar via text message that Tyla
13   would be releasing a song using music recorded during the March 8-9, 2023,
14   recording session.
15              30.     On June 15-16, 2023, Awuku asked Goufar via text message for the
16   full names of the producers who participated in the recording session.
17              31.     On July 2-3, 2023, Goufar informed Zucca and LoMastro via text
18   message that Tyla would be releasing the Song in late July 2023. Goufar asked
19   Zucca and LoMastro to sign a Split Sheet Agreement.
20              32.     On July 5, 2023, LoMastro asked Goufar via text message, “Are they
21   doing long form agreement as well? since this is just a split sheet.” Goufar
22   responded, “I can ask - this one only concerns publishing.”
23              33.     On July 5, 2023, LoMastro also received an Instagram message from
24   Awuku: “Hey bro. Did you get the forms from Rayo to fill out?” LoMastro
25   responded that he would send the form back ASAP, but also asked “will there be a
26   formal agreement for the record?” Mr. Awuku replied, “No just publishing splits
27   bro.” Around this time, LoMastro’s manager advised him to ask for Tyla’s
28
     4918-8593-9481.2
                                                                                       COMPLAINT
                                                    -6-
 Case 2:25-cv-02592           Document 1     Filed 03/25/25   Page 7 of 13 Page ID #:7



 1   manager’s contact information so the parties could come to an agreement on
 2   remaining terms instead of negotiating over Instagram messages.
 3              34.     Zucca and LoMastro signed a “Tyla – Water Split Sheet Agreement”
 4   on or about July 5, 2023 (“Split Sheet Agreement”). A true and correct copy of the
 5   Split Sheet Agreement is attached hereto as Exhibit 1.
 6              35.     The Split Sheet Agreement provides in pertinent part that “the
 7   copyright in the Composition shall be secured and held in the name of the following
 8   writers and publishers with writing/production credits, songwriter and publishing
 9   income from the Composition being listed and divided as set forth below.”
10              36.     The Split Sheet Agreement is not signed by anyone other than Zucca,
11   LoMastro, and Goufar, is undated, and expressly addresses only
12   “writing/production credits, songwriter and publishing income.”
13              37.     Plaintiffs never waived any of their rights to master/record royalties or
14   standard SoundExchange royalties for the Song.
15              38.     On July 27, 2023, LoMastro messaged Mr. Awuku via Instagram
16   asking for “Tyla’s managers email/phone ## for my MGMT.” LoMastro explained
17   that the Song was being released that night and his management “wanted to get the
18   record papered up.” Awuku replied, “you just got pub on this there’s no paperwork
19   needed agreement wise. Hit up my manager if anything. He’s been dealing with it
20   telling me what I need and who needs to sign what etc.” Awuku then provided his
21   manager’s email address.
22              39.     LoMastro’s managers made several attempts to contact Awuku’s
23   manager and Epic Records to address the incomplete paperwork. LoMastro’s
24   managers received no response from either party.
25              40.     On October 20, 2023, LoMastro received an Instagram message from
26   Awuku, who stated that he “just got a message from the label” and wanted to talk
27   with LoMastro. LoMastro provided Awuku with his manager’s contact information
28   and explained that “i don’t deal w the business side of things brody.”
     4918-8593-9481.2
                                                                                       COMPLAINT
                                                    -7-
 Case 2:25-cv-02592           Document 1    Filed 03/25/25   Page 8 of 13 Page ID #:8



 1              41.     On November 13, 2023, LoMastro’s attorney, Matt Buser, contacted
 2   Tyla’s attorney, Roger Patton, seeking proportionate participation in the producer
 3   terms along with crediting for the Song.
 4              42.     Mr. Buser also exchanged emails with Awuku’s counsel from
 5   November 13, 2023, through November 21, 2023. Awuku’s counsel stopped
 6   responding to Mr. Buser on November 21, 2023. LoMastro’s managers
 7   subsequently made several attempts to contact Awuku’s manager and SME to
 8   address the incomplete paperwork. They received no response from either party.
 9              43.     Beginning on or about March 29, 2024, Zucca and his managers
10   separately sought producer credit and master points for Zucca, to no avail.
11              44.     SME originally agreed to give Zucca the compensation he requested,
12   but then said that Zucca had to take it up with Awuku’s team because they were in
13   charge of dispensing credits and points.
14              45.     On May 13, 2024, Zucca and his manager had a meeting with Zeke
15   Lewis, president of Epic Records, to play demos for Tyla and/or other artists. After
16   congratulating Zucca on the Song, Mr. Lewis said that Zucca was not the first
17   person to come to Epic Records looking to fix their credit for the Song. Lewis
18   claimed that Awuku did not inform Epic Records that there were other producers on
19   the Song.
20              46.     Plaintiffs are informed and believe and based thereon allege that the
21   copyright for the Composition of the Song identifies Plaintiffs as co-copyright
22   claimants.
23              47.     Plaintiffs are informed and believe and based thereon allege that the
24   copyright for the Composition of the Song also identifies Plaintiffs as co-authors.
25
26
27
28
     4918-8593-9481.2
                                                                                     COMPLAINT
                                                   -8-
 Case 2:25-cv-02592           Document 1     Filed 03/25/25   Page 9 of 13 Page ID #:9



 1                                   FIRST CLAIM FOR RELIEF
 2                          (For Declaratory Relief against all Defendants)
 3           48.        Plaintiffs repeat, reallege, and incorporate by reference each and every
 4   allegation contained in Paragraphs 1 through 47, inclusive, of this Complaint as if
 5   fully set forth herein.
 6           49.        An actual and present controversy now exists between Plaintiffs and
 7   Defendants.
 8           50.        Plaintiffs contend that they are co-authors of the Composition of the
 9   Song and top-line producers of the Song, which entitles each of Zucca and
10   LoMastro to full top-line producer credit, a 12.5% share of the publishing royalties
11   generated from the exploitation of the Song, a pro rata share of the master/record
12   royalties relating to the Song, a pro rata share of standard SoundExchange royalties
13   for the Song, and producer fees.
14           51.        Defendants have denied that Plaintiffs are top-line producers of the
15   Song, and have further denied that Zucca and LoMastro are each entitled to full top-
16   line producer credit, a 12.5% share of the publishing royalties generated from the
17   exploitation of the Song, a pro rata share of the master/record royalties relating to
18   the Song, a pro rata share of standard SoundExchange royalties for the Song, and
19   producer fees.
20           52.        Because Defendants have refused to recognize Plaintiffs’ status as top-
21   line producers of the Song, and have failed to pay Plaintiffs all of the royalties they
22   are owed from the Song, Plaintiffs have each suffered injury in fact.
23           53.        Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201,
24   Plaintiffs are entitled to a declaration of rights as follows: (a) Plaintiffs are each a
25   top-line producer of the Song; (b) Plaintiffs are each entitled to full top-line
26   producer credit for the Song, including on the copyright to the Composition for the
27   Song; (c) Plaintiffs are each entitled to a prospective and retroactive 12.5% share of
28   the publishing royalties generated from the exploitation of the Song; (d) Plaintiffs
     4918-8593-9481.2
                                                                                      COMPLAINT
                                                   -9-
Case 2:25-cv-02592           Document 1     Filed 03/25/25   Page 10 of 13 Page ID #:10



 1   are each entitled to prospective and retroactive pro rata master/record royalties
 2   relating to the Song; (e) Plaintiffs are each entitled to prospective and retroactive
 3   pro rata standard SoundExchange royalties for the Song; and (f) Plaintiffs are each
 4   entitled to producer fees for the Song.
 5                                  SECOND CLAIM FOR RELIEF
 6                              (For Accounting against all Defendants)
 7              54.     Plaintiffs repeat, reallege, and incorporate by reference each and every
 8   allegation contained in Paragraphs 1 through 53, inclusive, of this Complaint as if
 9   fully set forth herein.
10              55.     Plaintiffs, as co-authors of the Composition for the Song and top-line
11   producers of the Song, are each entitled to a 12.5% share of the publishing royalties
12   generated from the exploitation of the Song and a pro rata share of the
13   master/record royalties and standard SoundExchange royalties that Defendants have
14   enjoyed from the exploitation of the Song.
15              56.     By commercially exploiting the Song without accounting to Plaintiffs
16   for all music royalties generated by the Song, Defendants have wrongfully deprived
17   Plaintiffs of their rightful share therefrom.
18              57.     Defendants are in sole control of the books and records needed to
19   ascertain the amounts due to Plaintiffs pursuant to their special relationship as co-
20   authors of the Composition of the Song and top-line producers of the Song.
21   Plaintiffs have no means by which they can assemble the information necessary to
22   calculate what is owed to them by Defendants.
23              58.     Plaintiffs are entitled to an order of this Court directing Defendants to
24   render a complete and honest accounting of all music royalties generated by the
25   Song, including but not limited to mechanical royalties, performance royalties,
26   synchronization royalties, and print royalties, and all sums due to Plaintiffs, and to
27   pay Plaintiffs the sums shown by such accounting.
28
     4918-8593-9481.2
                                                                                       COMPLAINT
                                                   - 10 -
Case 2:25-cv-02592           Document 1     Filed 03/25/25   Page 11 of 13 Page ID #:11



 1                                  THIRD CLAIM FOR RELIEF
 2                         (For Constructive Trust against all Defendants)
 3              59.     Plaintiffs repeat, reallege, and incorporate by reference each and every
 4   allegation contained in Paragraphs 1 through 58, inclusive, of this Complaint as if
 5   fully set forth herein.
 6              60.     By virtue of the foregoing, Plaintiffs are each entitled to a 12.5% share
 7   of the publishing royalties generated from the exploitation of the Song and a pro
 8   rata share of the master/record royalties and standard SoundExchange royalties for
 9   the song.
10              61.     Defendants have wrongfully deprived each Plaintiff of a 12.5% share
11   of the publishing royalties generated from the exploitation of the Song and of a pro
12   rata share of the master/record royalties and standard SoundExchange royalties for
13   the song.
14              62.     By virtue of Defendants’ acts, Defendants hold the music royalties
15   derived from the exploitation of the Song as constructive trustees for the benefit of
16   Plaintiffs and Defendants.
17              63.     Plaintiffs are each entitled to immediate possession of a 12.5% share
18   of the publishing royalties generated from the exploitation of the Song and a pro
19   rata share of the master/record royalties and standard SoundExchange royalties for
20   the Song held by Defendants as constructive trustees.
21                                 FOURTH CLAIM FOR RELIEF
22               (For Unjust Enrichment / Quasi Contract against all Defendants)
23              64.     Plaintiffs repeat, reallege, and incorporate by reference each and every
24   allegation contained in Paragraphs 1 through 63, inclusive, of this Complaint as if
25   fully set forth herein.
26              65.     Defendants have each received and unjustly retained a benefit at
27   Plaintiffs’ expense.
28
     4918-8593-9481.2
                                                                                      COMPLAINT
                                                   - 11 -
Case 2:25-cv-02592           Document 1     Filed 03/25/25   Page 12 of 13 Page ID #:12



 1              66.     Awuku has received a benefit in the form of being recognized as the
 2   sole top-line producer of the Song when, in fact, Plaintiffs also are top-line
 3   producers of the Song.
 4              67.     Defendants have each received and unjustly retained royalties from the
 5   Song that rightfully belong to Plaintiffs.
 6              68.     Defendants knew or should have known that Plaintiffs expected to
 7   receive (i) top-line producer credit for the Song, and (ii) all of the royalties to which
 8   Plaintiffs are entitled from the Song.
 9              69.     It would be inequitable and unjust for Defendants to retain the
10   foregoing benefits.
11              70.     As a direct and proximate result of Defendants’ unjust enrichment,
12   Plaintiffs have suffered damages in an amount to be proven at trial, but at a
13   minimum $75,000, exclusive of interest and costs.
14                                      PRAYER FOR RELIEF
15              WHEREFORE, Plaintiffs respectfully pray for judgment in their favor and
16   against Defendants as follows:
17              1.      That the Court declare as follows: (a) Plaintiffs are each a top-line
18   producer of the Song; (b) Plaintiffs are each entitled to full top-line producer credit
19   for the Song, including on the copyright to the Composition for the Song; (c)
20   Plaintiffs are each entitled to a prospective and retroactive 12.5% share of the
21   publishing royalties generated from the exploitation of the Song; (d) Plaintiffs are
22   each entitled to prospective and retroactive pro rata master/record royalties relating
23   to the Song; (e) Plaintiffs are each entitled to prospective and retroactive pro rata
24   standard SoundExchange royalties for the Song; and (f) Plaintiffs are each entitled
25   to a producer fee for the Song;
26              2.      That the Court order an accounting of all music royalties derived from
27   the exploitation of the Song by Defendants;
28
     4918-8593-9481.2
                                                                                       COMPLAINT
                                                   - 12 -
Case 2:25-cv-02592           Document 1     Filed 03/25/25    Page 13 of 13 Page ID #:13



 1              3.      That the Court impose a constructive trust over the music royalties
 2   from the exploitation of the Song pending the final disposition of this action;
 3              4.      That the Court award Plaintiffs money representing restitution for
 4   benefits unjustly obtained by Defendants;
 5              5.      That Plaintiffs be awarded their reasonable attorney’s fees and costs
 6   pursuant to Section 505 of the U.S. Copyright Act (17 U.S.C. § 505);
 7              6.      That Plaintiffs be awarded pre-judgment and post-judgment interest as
 8   permitted by law;
 9              7.      That Plaintiffs be awarded their costs of suit; and
10              8.      For such other and further relief as the Court deems to be just and
11   proper.
12                                   DEMAND FOR JURY TRIAL
13              Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs demand a jury trial
14   on all issues in this case so triable.
15
16
     Dated: March 25, 2025                              NIXON PEABODY LLP
17
18
                                                        By:/s/ Erica J. Van Loon
19                                                         Erica J. Van Loon
                                                           Joshua J. Pollack
20
                                                             Attorneys for Plaintiffs
21                                                           Olmo Zucca and Jackson LoMastro
22
23
24
25
26
27
28
     4918-8593-9481.2
                                                                                      COMPLAINT
                                                    - 13 -
